   Case 1:18-cv-02545-RDM-RLW-TNM Document 23 Filed 06/03/19 Page 1 of 3




                      IN THE UNITED STATES DISTRICT COURT FOR
                              THE DISTRICT OF COLUMBIA


Angelica CASTAÑON, et al.,

       Plaintiffs,

       v.                                                   Case No. 1:18-cv-2545
                                                            (RDM, RLW, TNM)
The UNITED STATES OF AMERICA,
et al.,

       Defendants.




                     PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT

       Pursuant to Rule 56 of the Federal Rules of Civil Procedure and Rule 7(h) of the Rules of

the United States District Court for the District of Columbia, Plaintiffs hereby move for

summary judgment. A memorandum of points and authorities in support of this motion and in

opposition to Defendants’ Motion to Dismiss, a statement of material facts as to which there is

no genuine issue, and a proposed order are submitted herewith. Oral argument is respectfully

requested.




June 3, 2019                                         Respectfully submitted,

                                                     /s/ Christopher J. Wright
                                                     Christopher J. Wright (D.C. Bar No. 367384)
                                                     Patrick O’Donnell (D.C. Bar No. 459360)
                                                     Timothy J. Simeone (D.C. Bar No. 453700)
                                                     Deepika H. Ravi (D.C. Bar No. 1017076)
                                                     HARRIS, WILTSHIRE & GRANNIS LLP
                                                     1919 M Street NW, 8th Floor
Case 1:18-cv-02545-RDM-RLW-TNM Document 23 Filed 06/03/19 Page 2 of 3




                                      Washington, D.C. 20036
                                      Telephone: 202-730-1300
                                      cwright@hwglaw.com
                                      podonnell@hwglaw.com
                                      tsimeone@hwglaw.com
                                      dravi@hwglaw.com

                                      Counsel for Plaintiff




                                  2
   Case 1:18-cv-02545-RDM-RLW-TNM Document 23 Filed 06/03/19 Page 3 of 3




                                CERTIFICATE OF SERVICE
       I hereby certify that on June 3, 2019 I electronically filed the foregoing document with the

Clerk of the Court using the CM/ECF system, and have verified that such filing was sent

electronically using the CM/ECF system to all parties who have appeared with an email address

of record.



                                                     /s/ Christopher J. Wright
                                                     Christopher J. Wright (D.C. Bar No. 367384)
                                                     HARRIS, WILTSHIRE & GRANNIS LLP
                                                     1919 M Street NW, 8th Floor
                                                     Washington, D.C. 20036
                                                     Telephone: 202-730-1300
                                                     cwright@hwglaw.com

                                                     Counsel for Plaintiffs




                                                1
